                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                      Chapter 11

 PARAGON OFFSHORE PLC,                                       Case No. 16-10386 (CSS)

                             Debtor.

 PARAGON LITIGATION TRUST,

                         Plaintiff,

                         v.
                                                             Adv. Pro. No. 17-51882 (CSS)
 NOBLE CORPORATION PLC, NOBLE
 CORPORATION HOLDINGS LTD, NOBLE
 CORPORATION, NOBLE HOLDING
 INTERNATIONAL (LUXEMBOURG) S.à r.l.,
 NOBLE HOLDING INTERNATIONAL
 (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
 HOLDINGS LIMITED, MICHAEL A. CAWLEY,
 JULIE H. EDWARDS, GORDON T. HALL, JON A.
 MARSHALL, JAMES A. MACLENNAN, MARY P.
 RICCIARDELLO, JULIE J. ROBERTSON, and
 DAVID WILLIAMS,

                         Defendants.

                               NOTICE OF SERVICE OF DISCOVERY



                 PLEASE TAKE NOTICE that on August 21, 2019, the Paragon Litigation Trust

served the following upon the parties listed below in the manner indicated:



         The Paragon Litigation Trust’s Supplemental Responses and Objections to Noble
          Corporation PLC’s First Set of Interrogatories




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Dated: August 22, 2019                     PACHULSKI STANG ZIEHL & JONES LLP

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